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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 JOHN KARARO, SEAN WALKER, TRI MINH                   )
 LA, MELVYN L. CAISON JR., IAN TRAVIS,                )
 DIEGO DELGADO, GABRIEL                               )
 CASTELLANO, and JUAN CARLOS                          )   Case No. 23-cv-02187
 GARCIA, individually and on behalf of all other      )
 similarly situated current and former employees,     )
                                                      )   District Judge Jorge L. Alonso
                Plaintiffs,                           )   Magistrate Judge Heather K. McShain
                                                      )
        v.                                            )
                                                      )
 OLD DOMINION FREIGHT LINE INC.,                      )

                Defendant.

                        DEFENDANT’S MOTION TO DISMISS
             PLAINTIFFS’ FOURTH AMENDED CLASS ACTION COMPLAINT

       Defendant Old Dominion Freight Line, Inc. (“Old Dominion”), by and through its

attorneys, Jody Kahn Mason, Jason Selvey, and Hannah Griffin Garlough of Jackson Lewis P.C.,

hereby moves to dismiss Plaintiffs’ Fourth Amended Class Action Complaint (“Complaint”) (Dkt.

77), with prejudice, pursuant to Rule 12(b)(1) and Rule 12(b)(6) of the Federal Rules of Civil

Procedure. As fully explained in Defendants’ Memorandum in Support of Its Motion to Dismiss

Plaintiffs’ Fourth Amended Class Action Complaint, which is being filed contemporaneously with

this Motion and is incorporated by reference herein, Plaintiffs’ Complaint should be dismissed for

the following reasons:

       First, Plaintiffs’ Count IV for violation of BIPA Section 15(a) must be dismissed as

Plaintiffs lack standing because they do not plead an injury-in-fact where there is no allegation

that Defendant has retained their alleged biometric data for longer than permitted under the statute.

Bryant v. Compass Grp. USA, Inc., 958 F.3d 617, 626 (7th Cir. 2020). In addition, the claims of

all Plaintiffs, except for Caison, are not yet ripe because the three-year period in which Old

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Dominion must destroy their alleged biometric data has not expired. 740 ILCS 14/15(a); Kislov v.

Am. Airlines, Inc., 566 F. Supp. 3d 909, 914 (N.D. Ill. 2021). Accordingly, Plaintiffs’ Section 15(a)

claims should be dismissed pursuant to Rule 12(b)(1) for lack of subject-matter jurisdiction.

       Second, Plaintiffs plead themselves out of court as to Counts I and II where Plaintiffs’ own

allegations and the documents attached by Plaintiffs to their Complaint establish that Old

Dominion has complied in full with the disclosure requirements of Sections 15(b)(1)-(2) of the

BIPA through the Biometric Information Privacy Policy published in Old Dominion’s Employee

Handbook since April 2018. (Dkt. 77 at ¶¶ 49-165; Dkt. 53-1, ¶¶ 6-7) and through its online

Privacy Policy (Dkt. 14, ¶ 53). Accordingly, the Court should dismiss Plaintiffs’ claims under

Section 15(b)(1)-(2) in Counts I and II, with prejudice, pursuant to Rule 12(b)(6).

       Third, to the extent that the Court does not dismiss Count IV for lack of standing, Plaintiffs

have failed to state a claim under Section 15(a) of the BIPA. The “Old Dominion Freight Line,

Inc. Privacy Policy” posted on Old Dominion’s public website, which was referenced by Plaintiffs

in their Second Amended Complaint (Dkt. 14, ¶ 53) and of which the Court may take judicial

notice, satisfies the requirements of Section 15(a) of the BIPA as a matter of law. Further, every

version of the Old Dominion Employee Handbook in effect since April 2018 has contained a

Biometric Information Privacy Policy that also provides additional information regarding Old

Dominion’s retention schedule and guidelines for permanently destroying biometric identifiers and

biometric information, as required by Section 15(a). As such, Count IV of Plaintiffs’ Complaint

should be dismissed, with prejudice, pursuant to Rule 12(b)(6).

       Fourth, Plaintiffs’ claims are barred in their entirety by the doctrine of laches. Plaintiffs’

Complaint reflects that, to the prejudice of Old Dominion, they waited years to bring their claims

for alleged violations of BIPA even though each Plaintiff alleges he knowingly and purposely



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scanned his finger on Old Dominion’s time clock at least hundreds of times without objection,

even after Old Dominion provided them with the written disclosures required in Section 15(b)(1)-

(2) of the BIPA. Plaintiffs’ unreasonable delay in asserting their claims has prejudiced Old

Dominion, which is apparent on the face of the Complaint. Specifically, Plaintiffs denied Old

Dominion the opportunity to address (to the extent necessary) Plaintiffs’ alleged concerns in real-

time while Plaintiffs continued “to keep racking up” potential damages. See Cothron v. White

Castle Sys., 2023 IL 128004, ¶ 60 (Overstreet, J., dissenting). Thus, Plaintiffs are barred from

recovering by the doctrine of laches and the Complaint should be dismissed, with prejudice. See

Norma Argueta v. Proven Partners Group, LLP (Case No. 2023 CH 38, Kane Cty. Oct. 25, 2023).

       Finally, the Court should dismiss the claims of Plaintiff Melvyn L. Caison, Jr. because he

failed to disclose them in bankruptcy proceedings until forced to do so after Defendant filed its

motion to dismiss Plaintiffs’ Second Amended Complaint. By concealing his BIPA claims from

the Bankruptcy Court, Plaintiff Caison received benefits from the bankruptcy court, such as a stay

of collection on his debts and a reduction in his monthly payments, and thus he is judicially

estopped from pursuing his claims now. Williams v. Hainje, 375 Fed. Appx. 625 (7th Cir. 2010).

       WHEREFORE, for the foregoing reasons and those set forth in Old Dominion’s

accompanying memorandum of law, Old Dominion respectfully requests that the Court dismiss

with prejudice Plaintiffs’ Fourth Amended Class Action Complaint pursuant to Fed. R. Civ. P.

12(b)(1) and 12(b)(6) and grant Old Dominion any additional relief deemed just and appropriate.

 Dated: December 22, 2023                              Respectfully submitted,

                                                       OLD DOMINION FREIGHT LINE,
                                                       INC.


                                             By:       /s/ Jody Kahn Mason
                                                          One of Its Attorneys


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                                CERTIFICATE OF SERVICE

         I, Jody Kahn Mason, an attorney, certify that on December 22, 2023, I caused a true and

correct copy of the attached Defendant’s Motion to Dismiss Plaintiffs’ Fourth Amended Class

Action Complaint to be filed with the Court by electronic filing protocols, and that same will

therefore be electronically served upon all attorneys of record registered with the Court’s system.

                                                     /s/ Jody Kahn Mason




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